Case 4:22-cv-11107-FKB-DRG ECF No. 36-3, PageID.2641 Filed 07/27/23 Page 1 of 9




                      Exhibit B
Case
 Case4:22-cv-11107-FKB-DRG
      2:22-cv-00188-HYJ-RSK ECF
                            ECF No.
                                No. 36-3,
                                    45, PageID.1490
                                          PageID.2642 Filed
                                                       Filed07/13/23
                                                             07/27/23 Page
                                                                       Page12ofof89




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION


 JEFFREY SCHREIBER,

        Plaintiff,
                                                     Case No. 2:22-cv-188
 v.
                                                     Hon. Hala Y. Jarbou
 MAYO FOUNDATION FOR MEDICAL
 EDUCATION AND RESEARCH,

       Defendant.
 ___________________________________/

                                            OPINION

        This is a putative class action asserting violations of Michigan’s Preservation of Personal

 Privacy Act (PPPA), Mich. Comp. Laws § 445.1711 et seq. (1989).             Before the Court is

 Defendant’s Rule 12(b)(6) motion to dismiss the amended complaint. For the reasons herein, the

 Court will deny the motion.

                                       I. BACKGROUND

        According to the amended complaint, Defendant Mayo Foundation for Medical Education

 and Research publishes books and other literature, including the Mayo Clinic Health Letter

 magazine. Plaintiff Jeffrey Schreiber is a Michigan resident who subscribed to this magazine

 before July 31, 2016. (Am. Compl. ¶ 18, ECF No. 19.) Schreiber alleges that Mayo later disclosed

 his “Private Reading Information” to third parties, in violation of the PPPA. (Id. ¶ 13.) In other

 words, sometime before July 31, 2016, Mayo allegedly disclosed his name, address, and the fact

 that he subscribed to Mayo Clinic Health Letter without his knowledge or consent. (Id. ¶ 17.)

 After Mayo’s disclosures, he allegedly received a “barrage of unwanted junk mail.” (Id. ¶ 1.)
Case
 Case4:22-cv-11107-FKB-DRG
      2:22-cv-00188-HYJ-RSK ECF
                            ECF No.
                                No. 36-3,
                                    45, PageID.1491
                                          PageID.2643 Filed
                                                       Filed07/13/23
                                                             07/27/23 Page
                                                                       Page23ofof89




        Until the PPPA was amended in July 2016, it prohibited “a person . . . engaged in the

 business of selling at retail, renting, or lending books or other written materials, sound recordings,

 or video recordings” from “disclos[ing] to any person, other than the customer, a record or

 information concerning the purchase, lease, rental, or borrowing of those materials by a customer

 that indicates the identity of the customer.” Mich. Comp. Laws § 445.1712 (1989). That version

 of the PPPA also entitled the customer to recover the following for a violation of the statute:

 “[a]ctual damages, . . . damages for emotional distress, or $5,000.00, whichever is greater,” as well

 as “[c]osts and reasonable attorney fees.” Mich. Comp. Laws § 445.1715 (1989). The amended

 version of the PPPA in effect today no longer allows for $5,000 in statutory damages; it requires

 plaintiffs to prove the amount of their actual damages. See Mich. Comp. Laws § 445.1715 (2016).

        Schreiber’s claim relies on the earlier version of the PPPA. He alleges that Mayo disclosed

 his information to “list brokers” and “data aggregators” “during the relevant pre-July 31, 2016

 time period,” when that version was still in effect. (Am. Compl. ¶¶ 1, 11.) In support of his claim,

 Schreiber’s amended complaint provides a screenshot of a “data card” marketed by list broker

 NextMark, LLC. (Id. ¶ 2.) NextMark’s data card advertised the sale of information from a “Mayo

 Clinic Health Letter Mailing List” with subscriber “counts through 07/19/2022,” including

 approximately 450,000 “active US [subscribers].” (Id. ¶ 3.)

        Schreiber also alleges that a “substantially similar” data card with the “same or similar

 rates” was advertised online “as far back as the beginning of 2005 and . . . on a continuous basis

 between 2005 and the present, including throughout the entire pre-July 31, 2016, time period[.]”

 (Id.) For example, a data card available online as of November 23, 2006, also advertised

 information from the “Mayo Clinic Health Letter.” (Id. ¶ 4.) That data card advertised subscriber

 “counts through 10/31/2006,” including almost 600,000 “active U.S. subscribers.” (Id.)



                                                   2
Case
 Case4:22-cv-11107-FKB-DRG
      2:22-cv-00188-HYJ-RSK ECF
                            ECF No.
                                No. 36-3,
                                    45, PageID.1492
                                          PageID.2644 Filed
                                                       Filed07/13/23
                                                             07/27/23 Page
                                                                       Page34ofof89




         In addition, an archived page from the website of RMI Direct Marketing, a list broker and

 data manager, states that Mayo “has been ‘an RMI client since 2005,’” increasing Mayo’s

 “multichannel marketing efforts” and testing its “mature list rental file[.]” (Id. ¶ 5.) RMI’s current

 website advertises the sale of data from a list of over 600,000 subscribers to Mayo Clinic Health

 Letter. (Id. ¶ 7.)

         Schreiber seeks statutory damages of $5,000 for each violation of the PPPA, and he intends

 to represent a class of other Michigan residents whose subscription information Mayo disclosed to

 other parties prior to July 31, 2016, without their knowledge or consent.

         Mayo moves to dismiss the amended complaint, arguing that it fails to state a claim.

                                       II. LEGAL STANDARD

         Rule 8(a)(2) of the Federal Rules of Civil Procedure requires a plaintiff to make a “short

 and plain statement of the claim showing that the pleader is entitled to relief.” The statement must

 contain “sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its

 face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). While “[t]he plausibility standard . . . is not

 akin to a probability requirement . . . it asks for more than a sheer possibility” that the alleged

 misconduct occurred. Id. “The plausibility of an inference depends on a host of considerations,

 including common sense and the strength of competing explanations for the defendant’s conduct.”

 16630 Southfield Ltd. P’ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 504 (6th Cir. 2013). “[A]

 statement of facts that merely creates a suspicion of a legally cognizable right of action is

 insufficient.” Bishop v. Lucent Techs., Inc., 520 F.3d 516, 520 (6th Cir. 2008).

         When considering a motion to dismiss, the Court must “construe the complaint in the light

 most favorable to the plaintiff, accepting all well-pleaded factual allegations as true.” Parrino v.

 Price, 869 F.3d 392, 397 (6th Cir. 2017). The Court need not accept “threadbare recitals of the

 elements of a cause of action, supported by mere conclusory statements,” Iqbal, 556 U.S. at 678,
                                                    3
Case
 Case4:22-cv-11107-FKB-DRG
      2:22-cv-00188-HYJ-RSK ECF
                            ECF No.
                                No. 36-3,
                                    45, PageID.1493
                                          PageID.2645 Filed
                                                       Filed07/13/23
                                                             07/27/23 Page
                                                                       Page45ofof89




 or “formulaic recitations of the elements of a cause of action,” Bell Atl. Corp. v. Twombly, 550

 U.S. 544, 555 (2007).

         The Court is generally bound to consider only the complaint when resolving a motion to

 dismiss, though the Court may also consider “exhibits attached to the complaint, public records,

 items appearing in the record of the case, and exhibits attached to defendant’s motion to dismiss,

 so long as they are referred to in the complaint and are central to the claims contained therein.”

 Gavitt v. Born, 835 F.3d 623, 640 (6th Cir. 2016).

                                            III. ANALYSIS

         A. Subject Matter Jurisdiction

         Before addressing merits of Mayo’s motion, the Court will discuss its subject matter

 jurisdiction. For a putative class action like this one, the diversity jurisdiction statute requires that

 “any member of a class of plaintiffs is a citizen of a State different from any defendant[.]” 28

 U.S.C. § 1332(d)(2)(A). Here, Schreiber alleges that he is a resident and citizen of Michigan. He

 also alleges that Mayo is a citizen of Minnesota, where it is incorporated and where it has its

 principal place of business. (Am. Compl. ¶ 19.) Thus, the citizenship requirement has been met.

         For class actions, the diversity jurisdiction statute also requires that the amount in

 controversy exceed “$5,000,000, exclusive of interest and costs[.]” 28 U.S.C. § 1332(d)(2).

 Schreiber alleges that the potential class has “thousands” of members, each of which would be

 entitled to at least $5,000 in statutory damages. (Am. Compl. ¶ 59.) With more than a thousand

 class members entitled to $5,000 each, the amount in controversy exceeds $5,000,000. Therefore,

 the Court is satisfied that it has subject matter jurisdiction over this case.

         B. Failure to State a Claim

         Mayo contends that Schreiber’s complaint fails to state a claim. Generally, to plead a

 viable claim under the prior version of the PPPA, Schreiber must allege (1) that Mayo possessed

                                                    4
Case
 Case4:22-cv-11107-FKB-DRG
      2:22-cv-00188-HYJ-RSK ECF
                            ECF No.
                                No. 36-3,
                                    45, PageID.1494
                                          PageID.2646 Filed
                                                       Filed07/13/23
                                                             07/27/23 Page
                                                                       Page56ofof89




 a “record or information” concerning Schreiber’s purchase of reading materials from Mayo, and

 (2) that Mayo disclosed this information to a third party before July 30, 2016, without his consent.

 See Mich. Comp. Laws §§ 445.1712, 445.1713 (1989). There is an exception to the consent

 requirement where “the disclosure is for the exclusive purpose of marketing goods and services

 directly to the consumer” and the disclosing party “inform[s] the customer by written notice that

 the customer may remove his or her name at any time[.]” Id. § 445.1713.

                1. Timing of Disclosures

        First, Mayo argues that Schreiber fails to provide sufficient factual allegations to support a

 plausible inference that Mayo disclosed his information when he claims it did. In his amended

 complaint, Schreiber alleges that Mayo disclosed his information “during the pre-July 31, 2016

 time period[.]” (Am. Compl. ¶ 1.) Similarly, he alleges that he subscribed to Mayo Clinic Health

 Letter “prior to July 31, 2016.” (Id. ¶ 18.) As to timing, these allegations are fairly vague.

 Elsewhere, however, he clarifies that he is referring to a time period from June 18, 2016, to July

 30, 2016, ostensibly because the six-year statute of limitations prevents him from asserting a claim

 that accrued before June 18, 2016. (Id. ¶ 1 n.1.)

        As factual support for Schreiber’s assertion that Mayo violated the PPPA, he provides

 images of data cards from 2006 and 2022, ten years before and six years after the relevant time

 period. The data cards indicate that their respective lists are current through 2006 and 2022,

 respectively, but they do not expressly advertise the sale of any information from 2016. Thus,

 Schreiber’s allegations require the Court to infer that, because third parties offered Mayo’s

 subscriber information for sale in 2006 and 2022, Mayo disclosed that information to a third party

 sometime during the six-week period from June 18 to July 30, 2016. Without more, the time gaps

 between the data cards and the alleged violation make Schreiber’s claim somewhat tenuous.



                                                     5
Case
 Case4:22-cv-11107-FKB-DRG
      2:22-cv-00188-HYJ-RSK ECF
                            ECF No.
                                No. 36-3,
                                    45, PageID.1495
                                          PageID.2647 Filed
                                                       Filed07/13/23
                                                             07/27/23 Page
                                                                       Page67ofof89




        A similar concern arose in Nashel v. N.Y. Times Co., No. 2:22-cv-10633, 2022 WL

 6775657 (E.D. Mich. Oct. 11, 2022). There, the plaintiff alleged PPPA violations by the defendant

 in 2016 based, in part, on the existence of two NextMark data cards, one from 2007 and one from

 2008. See id. at *1. The plaintiff also relied on the defendant’s privacy policy from 2015 and a

 research study from 2020. The research study implicated the defendant in a marketing strategy

 that included the disclosure of email lists. Despite these facts, the court concluded that the

 allegations were not sufficient to state a claim. In particular, reliance on the data cards was

 problematic because they predated the relevant time period by eight and nine years, respectively.

 Id. at *5. Similarly, the data cards here are removed from the relevant time period by several years.

        But in contrast to data cards in Nashel, the data cards here date from before and after the

 relevant time period, suggesting continuity of conduct by Mayo from 2006 to the present. In

 addition, the data cards indicate that their information is current as of 2006 and 2022, respectively.

 These facts suggest that the data brokers regularly updated the subscriber list before and after the

 relevant time period. Considered alongside RMI’s mention of its long-term relationship with

 Mayo, as well as a web page from its current website advertising such information, the facts are

 sufficient to plausibly infer regular disclosures of Mayo’s subscriber information from 2006 to the

 present, including disclosures in 2016.

        Mayo faults the complaint for not identifying the specific date of Schreiber’s initial

 subscription to the publication or the precise date that it purportedly disclosed Schreiber’s

 information. That level of specificity is not necessary. Schreiber’s allegations are more than

 sufficient to provide “fair notice” of the grounds for his claim, which is what Rule 8 requires here.

 See Twombly, 550 U.S. at 555.




                                                   6
Case
 Case4:22-cv-11107-FKB-DRG
      2:22-cv-00188-HYJ-RSK ECF
                            ECF No.
                                No. 36-3,
                                    45, PageID.1496
                                          PageID.2648 Filed
                                                       Filed07/13/23
                                                             07/27/23 Page
                                                                       Page78ofof89




                2. Causation

        Mayo argues that Schreiber faces another problem. It argues that he has not sufficiently

 alleged that Mayo is the one who disclosed his information. In other words, even if Next Mark or

 another third party sold information about subscribers to Mayo Clinic Health Letter, Mayo argues

 that such facts do not support a plausible inference that Mayo is the one that improperly disclosed

 this information to a third party. However, information about the identities of subscribers to

 Mayo’s publication likely would have originated from Mayo. Consequently, if list brokers

 possessed that information, it is plausible to infer that Mayo was the original source. See Horton

 v. GameStop Corp., 380 F. Supp. 3d 679, 682 (W.D. Mich. 2018) (“Given that GameStop

 possessed the Game Informer subscription information and that NextMark purported to sell that

 information, the implication that GameStop disclosed the information to NextMark or other data-

 mining companies passes the threshold of plausibility.”).

                3. Schreiber’s Information

        Finally, Mayo argues that the facts alleged are not sufficient to infer that Schreiber’s own

 information was the subject of disclosure. The Court disagrees. If Mayo regularly disclosed

 information about thousands of its subscribers, as the data cards and other allegations suggest, it

 is plausible to infer that Schreiber’s information was included in those disclosures.

        In short, Mayo’s arguments are not persuasive. Schreiber’s allegations are sufficient to

 state a plausible claim under the PPPA.

                                        IV. CONCLUSION

        For the reasons discussed above, Schreiber has pleaded sufficient factual matter to support

 a plausible claim that Mayo violated Schreiber’s rights under the PPPA during the relevant time




                                                  7
Case
 Case4:22-cv-11107-FKB-DRG
      2:22-cv-00188-HYJ-RSK ECF
                            ECF No.
                                No. 36-3,
                                    45, PageID.1497
                                          PageID.2649 Filed
                                                       Filed07/13/23
                                                             07/27/23 Page
                                                                       Page89ofof89




 period before July 31, 2016. Accordingly, the Court will deny Mayo’s motion to dismiss the

 complaint.

        An order will enter in accordance with this Opinion.



 Dated: July 13, 2023                               /s/ Hala Y. Jarbou
                                                    HALA Y. JARBOU
                                                    CHIEF UNITED STATES DISTRICT JUDGE




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